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 NOT FOR PUBLICATION

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


 DISABILITY RIGHTS NEW JERSEY,
                                                                          Civil Action No. 24-08297
                Plaintiff,

                             v.                                           OPINION AND ORDER

 TODD BARCLIFF, in his official capacity as
                                                                                October 11, 2024
 Warden of the Essex County Juvenile Detention
 Center, DENNIS HUGHES in his official
 capacity as the Director of the Essex County
 Juvenile Detention Center, and ESSEX
 COUNTY JUVENILE DETENTION CENTER,

               Defendants.


 SEMPER, District Judge.

          The current matter comes before the Court on Disability Rights New Jersey’s (“Disability

 Rights NJ” or “Plaintiff”) Motion for Preliminary Injunction. (ECF 2, “Motion.”) Defendants Todd

 Barcliff, Dennis Hughes, and Essex County Juvenile Detention Center (together, “Defendants”)

 opposed the motion. (ECF 18, “Opp.”) Plaintiff filed a reply. (ECF 21, “Reply.”) The Court has

 decided this motion upon the submissions of the parties and oral argument. For the reasons stated

 below, Plaintiff’s Motion is GRANTED.

     I.       FACTUAL BACKGROUND AND PROCEDURAL HISTORY 1

          Plaintiff initiated the instant matter on August 6, 2024 by filing a Verified Complaint (ECF

 1, “Compl.”) and Motion for Preliminary Injunction (ECF 2, Motion). Defendant Essex County



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           The facts and procedural history are drawn from the Verified Complaint (ECF 1, Compl.), Plaintiff’s Motion
 for Preliminary Injunction (ECF 6, Motion), and Defendants’ Opposition (ECF 18, Opp.).
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 Juvenile Detention Center (“Essex JDC”) is a county youth detention facility. (ECF 1, Compl. ¶

 18.) Defendant Barcliff is the Warden of Essex JDC; Defendant Hughes is the Director of Essex

 JDC. (Id. ¶¶ 16-17.) Plaintiff is the state-designated Protection and Advocacy agency for the state

 of New Jersey. (Id. ¶ 11.) In 2023, Disability Rights NJ’s Director of Investigations and Monitoring

 (“Director Hoegel”) received several reports of alleged abuse and neglect of youth with disabilities

 housed in Essex JDC. (Id. ¶ 29.) Director Hoegel and Disability Rights NJ thereafter initiated

 efforts to monitor Essex JDC by sending a letter of introduction to the Warden in May 2023. (Id.

 ¶ 30.) In the letter, Plaintiff requested copies of the general policies and procedures of the Essex

 JDC. (Id. ¶ 31.) Plaintiff also offered dates to conduct a “meet and greet” with Essex JDC staff and

 explain Plaintiff’s statutory authority.

        Plaintiff received no response and resent the letter on July 19, 2023. (Id. ¶ 33.) Defendants

 provided the requested policies but did not offer to set up a visit. (Id. ¶ 34.)

        Later that year, Plaintiff received a confidential referral regarding possible educational

 neglect at Essex JDC, alleging that four youth with disabilities in the facility had not been

 permitted to attend school since September 2023. (Id. ¶¶ 35-36.) Based on these additional reports,

 Director Hoegel determined Disability Rights NJ had probable cause to believe that abuse and

 neglect was occurring at Essex JDC. (Id. ¶ 38.) On December 15, 2023, Director Hoegel mailed

 and emailed a letter to Defendants Barcliff and Essex JDC, invoking Plaintiff’s records access

 authority based on its finding of probable cause, and requesting information related to school

 attendance, grievance logs, logs of incidents involving physical restraint, and the directory of youth

 and their guardian contacts. (Id.) Defendants denied Plaintiff’s access to records. (Id. ¶ 39.)

 Plaintiff sent a follow up letter explaining its statutory authority. (Id. ¶ 42.) Disability Rights NJ’s

 Legal Director and Director Hoegel then spoke to Essex County Counsel and sent a follow-up




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 email reiterating Plaintiff’s authority to access director information on behalf of youth with

 disabilities. (Id. ¶¶ 43-44.) Defendants did not respond to the email and to date, has not provided

 the requested information, delaying Plaintiff’s investigation. (Id. ¶¶ 47, 65-68.)

          Defendants gave Plaintiff limited access to the facility through an accompanied tour in

 February 2024. (Id. ¶ 51.) Plaintiff conducted additional visits in April 2024, but was largely not

 permitted to access residential units, and minimally interacted with some youths at the facility who

 had been chosen by Essex JDC staff. (Id. ¶¶ 51-53.) To date, Plaintiff has not been permitted access

 to all areas where youth are permitted, nor have they been permitted to meet privately with any

 youth. (Id. ¶¶ 65-68.) Essex JDC also refused to permit Plaintiff access to the facility to take photos

 and maintains this refusal. (Id. ¶¶ 62-68.) Plaintiff requests that this Court issue a preliminary

 injunction against Defendants, requiring Defendants to immediately provide access to records,

 permit Plaintiff reasonable unaccompanied access to individuals at Essex JDC, and take

 photographs of the facility to the full extent permitted by law. (ECF 2, Motion at 32.) On August

 8, 2024, the Court issued an order to show cause why the preliminary injunction should not be

 issued. (ECF 8.) The Court held oral argument on October 8, 2024.

    II.       LEGAL STANDARD

          Federal Rule of Civil Procedure 65 governs the issuance of temporary restraining orders

 and preliminary injunctions. In the Third Circuit, the four requirements Plaintiffs must satisfy to

 obtain the emergent injunctive relief sought are:

          (1) a reasonable probability of eventual success in the litigation, and (2) that [they]
          will be irreparably injured . . . if relief is not granted . . . . [In addition,] the district
          court, in considering whether to grant a preliminary injunction, should take into
          account, when they are relevant, (3) the possibility of harm to other interested
          persons from the grant or denial of the injunction, and (4) the public interest.
 Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017), as amended (June 26, 2017) (citing

 Del. River Port Auth. v. Transamerican Trailer Transport, Inc., 501 F.2d 917, 919-20 (3d Cir.


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 1974) (internal citations omitted)). The Third Circuit has also made clear that “[p]reliminary

 injunctive relief is ‘an extraordinary remedy’ and ‘should be granted only in limited

 circumstances.’” Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004) (quoting

 American Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 (3d

 Cir.1994)).

           “[A] district court—in its sound discretion—should balance those four factors so long as

 the party seeking the injunction meets the threshold on the first two.” South Camden Citizens in

 Action v. N.J. Dep’t of Envtl. Prot., 274 F.3d 771, 777 (3d Cir. 2001) (citing Oburn v. Shapp, 521

 F.2d 142, 147 (3d Cir. 1975)). It follows that a “failure to show a likelihood of success or a failure

 to demonstrate irreparable injury must necessarily result in the denial of a preliminary injunction.”

 See South Camden Citizens in Action, 274 F.3d at 777 (citing In re Arthur Treacher’s Franchisee

 Litig., 689 F.2d 1137, 1143 (3d Cir. 1982)). As a threshold matter, the Court therefore considers

 the first two prongs together. “Only when a plaintiff has sufficiently met the first two prongs, does

 the Court consider the third prong relating to the possibility of harm to other parties and finally,

 evaluate whether public interest is served by granting injunctive relief.” Tanko v. Moore, No. 23-

 2187, 2023 WL 3033573, at *1 (D.N.J. April 21, 2023) (internal citation and quotation marks

 omitted).

    III.       ANALYSIS

           Applying the preliminary injunction framework here, the Court finds that Plaintiff is

 entitled to a preliminary injunction.

           First, the Court finds that Plaintiff has established a reasonable probability that it will

 succeed on the merits of its claims under the PAIMI Act, PADD Act, and PAIR Act. The Protection

 and Advocacy for Individuals with Mental Illness Act (“PAIMI”), 42 U.S.C. §§ 10801–10851




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 (2000), the Developmental Disabilities Assistance and Bill of Rights Act of 2000 (“PADD”), 42

 U.S.C. §§ 15001–15115 (2000), and the Protection and Advocacy of Individual Rights Act

 (“PAIR”), 29 U.S.C. § 794e (2000) (collectively, the “P & A Acts”) authorize a protection and

 advocacy system (“P & A system”) to “monitor the care of and advocate on behalf of individuals

 with mental illness and developmental or other disabilities.” Connecticut Off. of Protec. and

 Advoc. For Persons With Disabilities v. Hartford Bd. of Educ., 464 F.3d 229, 233 (2d Cir. 2006)

 (citing 29 U.S.C. § 794e(a)(1); 42 U.S.C. §§ 10801, 15001). “To further these objectives, the P &

 A system ‘has extensive authority to access individuals, patient records, and public and private

 facilities.’” Matter of Disability Rights Idaho Req. for Ada County Coroner Records Relating to

 the Death of D.T., 168 F. Supp. 3d 1282, 1286 (D. Idaho 2016) (quoting 42 U.S.C. 10805(a));

 (citing Alabama Disabilities Advocacy Program v. J.S. Tarwater Developmental Ctr., 97 F.3d 492,

 497 (11th Cir. 1996) (“Tarwater”) (“It is clear that [PAIMI] provides express authority for P & As

 to gain broad access to records, facilities, and residents to ensure that [PAIMI’s] mandates can be

 effectively pursued.”)).

        The P & A Acts provide the authority for a P & A system, like Disability Rights NJ, to

 “investigate incidents of abuse and neglect of individuals with mental illness if the incidents are

 reported to the system or if there is probable cause to believe that the incidents occurred[.]” 42

 U.S.C. § 10805(a)(1)(A). As such, both Plaintiff and Defendants agreed at oral argument that

 Plaintiff is within its federal mandate to commence an investigation of abuse and neglect (1) “if

 the incidents are reported to” Plaintiff, “or” (2) “if there is probable cause to believe that the

 incidents occurred[.]” Id. Here, Plaintiff has demonstrated that it has a likelihood of success on the

 merits on the basis of the statutory law empowering it to conduct investigations, access records,

 etc. pursuant to the federal statutory framework. Defendants’ subsequent refusal to allow Plaintiff




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 to proceed with its investigation impedes on Plaintiff’s authority to investigate as vested by state

 and federal law. Accordingly, the Court finds that Plaintiff is likely to succeed on the merits of its

 claims.

           Second, Plaintiff has demonstrated that it would suffer irreparable harm. Case law from

 around the country supports finding that a protection and advocacy agency’s inability to meet its

 federal statutory mandate to protect and advocate the rights of disabled people constitutes

 irreparable harm. See Ohio Legal Rights Serv. v. BR, Inc., 365 F. Supp. 2d, 883 (S.D. Ohio 2005)

 (“There is no dispute that a protection and advocacy agency’s inability to meet its federal statutory

 mandate to protect and advocate the rights of disabled people constitutes irreparable harm.”); see

 also State of Connecticut Office of Protection and Advocacy for Persons with Disabilities v.

 Hartford Bd. of Educ., 355 F. Supp. 2d 649, 653 (D. Conn. 2005); Wisconsin Coal. for Advocacy,

 Inc. v. Czaplewski, 131 F. Supp. 2d 1039, 1051 (E.D. Wis. 2001).

           Finally, the equities further support granting a preliminary injunction. The Court does not

 believe that the requested injunctive relief will result in a greater harm to Defendants. In particular,

 nothing in the record suggests that the served defendants will suffer any sort of legally cognizable

 harm from the injunction. Additionally, public interest favors such relief as the public is well-

 served through the enforcement of duly-enacted laws. See Reilly, 858 F.3d at 176.

           Accordingly, the Court grants Plaintiff’s motion for a preliminary injunction. 2




            2
              The Court will not require Plaintiff to post a bond at this time. See McCormack v. Twp. Of Clinton, 872 F.
 Supp. 1320, 1328 (D.N.J. 1994) (“[T]he court first should weigh the potential loss to the enjoined party against the
 hardship that a bond requirement would impose on the applicant. Second, the court should consider whether the
 application seeks to enforce a significant federal right or a matter of public interest.”); see also South Camden Citizens
 v. NJ Dep’t of Environ., 145 F. Supp. 2d 446, 503-05 (D.N.J. 2001) (waiving bond in case involving significant public
 interest).


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     IV.       CONCLUSION

           For the reasons stated above, Plaintiff’s Motion for Preliminary Injunction (ECF 2) is

 GRANTED.


           NOW, THEREFORE, IT IS HEREBY ORDERED that Defendants are enjoined and

 restrained from:


           (a) denying Disability Rights New Jersey’s current requests for records pursuant to its

               statutory authority that exist in the custody of Essex County Juvenile Detention

               Center. 3

           (b) denying Plaintiff reasonable unaccompanied access to staff and individuals confined at

               Essex County JDC. 4

           (c) denying Plaintiff the ability to take photographs of the facility to the extent permitted

               by law, with the exception of windows, doors, signage or labels (i.e., cell numbers,

               directions, room and area designations, etc.).


 IT IS SO ORDERED.




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             This order does not encompass third parties who may be custodians of other medical or academic records.
 To the extent Defendants still contest providing directory records due to lack of consent, they are ordered to provide
 the most current directory of residents and their guardian contact information to Disability Rights New Jersey pursuant
 to 42 U.S.C. § 1085(a)(4) (“A system established in a State under section 10803 of this title to protect and advocate
 the rights of individuals with mental illness shall . . . have access to all records of . . . any individual . . . with respect
 to whom a complaint has been received by the system or with respect to whom as a result of monitoring or other
 activities (either of which result from a complaint or other evidence) there is probable cause to believe that such
 individual has been subject to abuse or neglect . . .”). See also 45 C.F.R. § 1326.25(a)(4) (“If the P&A determines
 there is probable cause to believe that the health or safety of an individual is in serious and immediate jeopardy, no
 consent from another party is needed.”).
           4
             In the interest of maintaining security efforts by the detention center, visits by Plaintiff should be announced
 in advance. Security personnel would be reasonable and therefore permissible accompaniment. See 42 C.F.R. §
 51.42(c). Interviews with individuals at the detention center may be conducted with security personnel out of earshot
 in order to maintain confidentiality.


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                                                       /s/ Jamel K. Semper
                                                       HON. JAMEL K. SEMPER
                                                       United States District Judge

 Orig: Clerk
 cc:   Jessica S. Allen U.S.M.J.
       Parties




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